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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                         CR-11-57-GF-BMM-01

                 Plaintiff,
                                              ORDER ADOPTING MAGISTRATE
       vs.                                        JUDGE’S FINDINGS AND
                                              RECOMMENDATIONS TO REVOKE
VERNON MARSHALL JAMES                        DEFENDANT’S SUPERVISED RELEASE
YOUNG,

                 Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter July 14, 2016. (Doc. 269.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on July 8, 2016. (Doc. 265.)

Young admitted that he violated the conditions of his supervised release. The

violations prove serious and warrant revocation of Young’s supervised release.

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Judge Johnston has recommended that the Court revoke Young’s supervised

release and commit Young to the custody of the Bureau of Prisons for two weeks

and one day on Count II. (Doc. 269 at 6.) Judge Johnston further has

recommended that Young’s term of custody be followed by 35 months of

supervised release on Count II. Judge Johnston also has recommended that the

conditions of supervised release previously imposed should be imposed.

      Young’s violation qualifies as a Grade C violation. Young’s criminal history

category equals II. Young’s underlying offenses represent Class B and Class C

felonies. The Court could sentence Young to a term of custody of 24 months on

Count II. The Court could order Young to remain on supervised release for 36

months, less any custody time imposed on Count II. The United States Sentencing

Guidelines call for four to ten months in custody.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Young’s violations of his conditions represent a serious breach

of the Court’s trust. A sentence of two weeks and one day custody followed by 35

months of supervised release represents a sufficient, but not greater than necessary,

sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 269) is ADOPTED IN FULL.




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      IT IS FURTHER ORDERED that Defendant Vernon Marshall James

Young be sentenced to two weeks and one day imprisonment followed by 35

months of supervised release. The conditions previously imposed shall be

continued.

      DATED this 22nd day of July, 2016.




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